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				&lt;p&gt;&lt;strong&gt;&lt;font face="ARIAL" size="4"&gt;STATE ex rel. OKLAHOMA BAR ASSOCIATION v. CAMPBELL&lt;/font&gt;&lt;font face="ARIAL" size="2"&gt;&lt;br&gt;2024 OK 67&lt;/font&gt;&lt;br&gt;Case Number: &lt;span&gt;SCBD-7403&lt;/span&gt;&lt;br&gt;Decided: 09/30/2024&lt;br&gt;THE SUPREME COURT OF THE STATE OF OKLAHOMA&lt;br&gt;&lt;/strong&gt;&lt;/p&gt;&lt;hr&gt;
&lt;font size="1"&gt;Cite as: 2024 OK 67, __ P.3d __&lt;/font&gt;&lt;hr&gt;

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&lt;p&gt;&lt;font&gt;&lt;font&gt;&lt;font&gt;NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. &lt;/font&gt;&lt;/font&gt;&lt;/font&gt;&lt;/p&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;hr&gt;
&lt;p&gt;&amp;#160;&lt;/p&gt;

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&lt;p&gt;STATE OF OKLAHOMA &lt;i&gt;ex rel. &lt;/i&gt;OKLAHOMA BAR ASSOCIATION, Complainant,&lt;br&gt;
v.&lt;br&gt;
DEBRA CAMPBELL, Respondent.&lt;/p&gt;
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&lt;div class="de-origin"&gt;
&lt;p&gt;&lt;b&gt;ORDER APPROVING RESIGNATION &lt;/b&gt;&lt;br&gt;
&lt;b&gt;PENDING DISCIPLINARY PROCEEDINGS&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;div class="de-writing"&gt;
&lt;p&gt;&lt;b&gt;&amp;#182;&lt;/b&gt;1 Respondent, who has pending disciplinary proceedings, has submitted an affidavit pursuant to Rule 8, Oklahoma Rules Governing Disciplinary Procedure (RGDP), 5 O.S. ch. 1 app. 1-A, seeking to resign her membership in the Oklahoma Bar Association (OBA) and relinquish her right to practice law. Complainant OBA has filed an application for an order approving resignation pending disciplinary proceedings.&lt;/p&gt;

&lt;p&gt;&amp;#182;2 Respondent was admitted to the Oklahoma Bar on April 29, 2005, and executed her affidavit of resignation on August 29&lt;sup&gt;th&lt;/sup&gt;, 2024. The affidavit was filed in this Court on August 30, 2024.&lt;/p&gt;

&lt;p&gt;&amp;#182;3 Respondent states:&lt;/p&gt;

&lt;blockquote&gt;(a) she tenders her resignation freely and voluntarily;&lt;/blockquote&gt;

&lt;blockquote&gt;(b) she is not subject to coercion or duress;&lt;/blockquote&gt;

&lt;blockquote&gt;(c) she is aware of the consequences thereof;&lt;/blockquote&gt;

&lt;blockquote&gt;(d) she is not under the influence of any mind-altering substance;&lt;/blockquote&gt;

&lt;blockquote&gt;(e) she has been fully advised of her rights, and is represented by counsel.&lt;/blockquote&gt;

&lt;p&gt;&amp;#182;4 Respondent admits that although the resignation is subject to approval by this Court, she will treat it as effective from the date and time of its execution.&lt;/p&gt;

&lt;p&gt;&amp;#182;5 Respondent acknowledges that the OBA has filed a verified complaint against her pursuant to Rule 6 of the Rules Governing Disciplinary Proceedings (RGDP) 5 O.S. ch. 1, app. 1-A, and her license to practice law in Oklahoma was suspended on February 6, 2023, pending disciplinary proceedings. She is aware that those allegations would constitute violations of Rules 1.1, 1.3, 1.4, 1.5, 1.15, 1.16(d), 8.4(a), 8.4(b), and 8.4(d) of the Oklahoma Rules of Professional Conduct (ORPC), 5 O.S. ch. 1, app. 3-a, and Rules 1.3 and 10.1, RGDP. She waives her right to contest the allegations brought in that complaint.&lt;/p&gt;

&lt;p&gt;&amp;#182;6 Respondent also avers that on July 25, 2024, she pled no contest in Lincoln County District Court, Case No. CF-2022-290, to Count 1, trafficking (methamphetamine); Count 2, unlawful possession of controlled dangerous substance with intent to distribute marijuana; and Count 4, possession of a firearm during commission of a felony. At the time Respondent filed her affidavit, sentencing was pending. On September 3, 2024 she was sentenced to a total of five years imprisonment, suspended, with supervised probation and fines, fees and costs. Respondent is aware that entry of the Judgment and Sentence in that criminal case will subject her to disciplinary procedures under Rule 7, RGDP, and that the Judgment and Sentence will constitute the charge, be conclusive evidence of commission of the crimes, and form the basis for discipline.&lt;/p&gt;

&lt;p&gt;&amp;#182;7 Respondent's affidavit acknowledges:&lt;/p&gt;

&lt;blockquote&gt;(a) Respondent is aware that pursuant to Rule 8.2, RGDP, the approval or disapproval of her resignation is within this Court's discretion.&lt;/blockquote&gt;

&lt;blockquote&gt;(b) She is familiar and agrees to comply with all provisions of Rule 9.1, RGDP, within twenty days following the date of her resignation; Respondent previously complied with Rule 9.1 on or about March 1, 2023, and has not practiced law since her interim suspension. She recognizes that she may not be reinstated to the practice of law unless she fully complies with the provisions of Rule 11, RGDP, and that she may not apply for reinstatement before five years after the effective date of the resignation.&lt;/blockquote&gt;

&lt;blockquote&gt;(c) She acknowledges that the Client Security Fund may receive claims from her former clients, and agrees that, should the OBA approve and pay such claims, she will reimburse the fund for the principal amounts and statutory interest before filing any application for reinstatement to the practice of law.&lt;/blockquote&gt;

&lt;blockquote&gt;(d) She will tender her OBA membership card to the Office of General Counsel or destroy it.&lt;/blockquote&gt;

&lt;blockquote&gt;(e) She will cooperate with the Office of the General Counsel to identify any active client cases where documents and files need to be returned or forwarded to new counsel, and any client cases where she owes fees or refunds.&lt;/blockquote&gt;

&lt;blockquote&gt;(f) She acknowledges that the OBA has incurred costs during its investigation and agrees to be responsible for their reimbursement.&lt;/blockquote&gt;

&lt;p&gt;&amp;#182;8 The effective date of Respondent's resignation is August 29, 2024.&lt;/p&gt;

&lt;p&gt;&amp;#182;9 This Court finds Respondent's resignation pending disciplinary proceedings complies with all the requirements set forth in Rule 8.1, RGDP, and accepts the resignation.&lt;/p&gt;

&lt;p&gt;&amp;#182;10 Respondent's OBA number is 20467, and her official roster address, in OBA records, is P.O. Box 571, Wellston, OK 74881.&lt;/p&gt;

&lt;p&gt;&amp;#182;11 &lt;b&gt;IT IS THEREFORE ORDERED&lt;/b&gt; that the OBA's Application for Order Approving Resignation is approved.&lt;/p&gt;

&lt;p&gt;&amp;#182;12 &lt;b&gt;IT IS FURTHER ORDERED&lt;/b&gt; that Respondent's name be stricken from the Roll of Attorneys and that she make no application for reinstatement to membership in the Oklahoma Bar Association before August 29, 2029.&lt;/p&gt;

&lt;p&gt;&amp;#182;13 &lt;b&gt;IT IS FURTHER ORDERED&lt;/b&gt; that Respondent comply with Rule 9.1 of the RGDP, return all client files, and refund unearned fees.&lt;/p&gt;

&lt;p&gt;&amp;#182;14 &lt;b&gt;IT IS FURTHER ORDERED&lt;/b&gt; that as a condition of reinstatement, Respondent shall reimburse the Client Security Fund for any monies expended because of her malfeasance or nonfeasance.&lt;/p&gt;

&lt;p&gt;&amp;#182;15 &lt;b&gt;IT IS FURTHER ORDERED&lt;/b&gt; that Respondent shall pay costs in the amount of $444.66 to the Oklahoma Bar Association within ninety (90) days of the date of this Order.&lt;/p&gt;

&lt;p&gt;&lt;b&gt;DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE&lt;/b&gt; this 30th day of September, 2024.&lt;/p&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

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&lt;p&gt;/S/CHIEF JUSTICE, Oklahoma Supreme Court&lt;/p&gt;
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&lt;p&gt;ALL JUSTICES CONCUR.&lt;/p&gt;
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